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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,


                          Plaintiffs,
   v.


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VA, ANDREW           Civil Action No. 3:17-cv-00072-NKM
   ANGLIN, MOONBASE HOLDINGS, LLC,
   ROBERT “AZZMADOR” RAY, NATHAN
   DAMIGO, ELLIOT KLINE a/k/a/ ELI
   MOSLEY, IDENTITY EVROPA,
   MATTHEW HEIMBACH, MATTHEW
   PARROTT a/k/a DAVID MATTHEW
   PARROTT, TRADITIONALIST WORKER
   PARTY, MICHAEL HILL, MICHAEL
   TUBBS, LEAGUE OF THE SOUTH, JEFF
   SCHOEP, NATIONAL SOCIALIST
   MOVEMENT, NATIONALIST FRONT,
   AUGUSTUS SOL INVICTUS, FRATERNAL
   ORDER OF THE ALT-KNIGHTS,
   MICHAEL “ENOCH” PEINOVICH, LOYAL
   WHITE KNIGHTS OF THE KU KLUX
   KLAN, and EAST COAST KNIGHTS OF
   THE KU KLUX KLAN a/k/a EAST COAST
   KNIGHTS OF THE TRUE INVISIBLE
   EMPIRE,


                          Defendants.

     PLAINTIFFS’ MOTION FOR SANCTIONS AGAINST DEFENDANT VANGUARD
                                AMERICA
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         Plaintiffs respectfully submit this memorandum of law in support of their motion pursuant

  to Rule 37 of the Federal Rules of Civil Procedure and the Court’s inherent authority for sanctions

  against Defendant Vanguard America (“VA”).

                                  PRELIMINARY STATEMENT

         Here we are again: another day, another Defendant flouting discovery obligations. But

  VA’s abject defiance of all Court orders and processes sets it apart from the other non-compliant

  Defendants: VA’s own lawyer finds its conduct in discovery indefensible. Counsel for VA said

  it best: “Vanguard is a problem.” Because of VA’s failure to produce its electronic devices to

  the third-party vendor, this Court issued an order to show cause, affording VA fourteen days to

  demonstrate “why it should not be held in contempt of court for its failure to obey Fed. R. Civ. P.

  37(b)(2)(A)(vii).” In response, VA characteristically thumbed its nose, providing no explanation

  for its failure to comply with multiple court orders. While contempt is appropriate at this point,

  given the central role VA played in this conspiracy and thus the amount of important evidence

  their bad faith defiance might keep from the jury, Plaintiffs will be severely prejudiced without

  additional case-related remedies.

         As a primary organizer of the events in Charlottesville, and the Defendant who marched in

  lockstep with James Fields on August 12th up to the moment he drove his car through a crowd of

  people, VA has the most to lose in this case, and therefore the most to hide. Like other Defendants,

  VA paid lip service to this litigation until it came time to surrender the evidence of the actual

  communications its members had with others about these events. Once directly ordered by the

  Court to provide its electronic devices, VA simply disappeared, leaving Plaintiffs significantly

  prejudiced in their ability to discover and authenticate evidence of critical documents and

  communications.
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             Plaintiffs seek a remedy expressly contemplated by the Federal Rules and tailor-made to

  this particular form of prejudice: that the Court deem certain facts established that Plaintiffs believe

  they could otherwise prove if VA had simply complied with this Court’s orders. Sanctions are

  additionally needed to restore order to this judicial process and stem the tide of Defendants running

  from accountability by following each other out the back door, never to be heard from again.

  Plaintiffs seek the following sanctions under Rule 37 and this Court’s inherent authority:

             1.       That the Court deem the facts listed in the attached Exhibit 1 established for
                      purposes of this action;

             2.       That the Court deem “authentic” for purposes of satisfying Rule 901 of the
                      Federal Rules of Evidence any documents Plaintiffs have a good faith basis
                      to believe were in fact created by Defendant VA, including, but not limited
                      to, all documents from the social media accounts listed in Exhibit 1; 1

             3.       That the Court instruct the jury that Defendant VA chose to intentionally
                      withhold its documents and that the jury may draw adverse inferences from
                      that fact, including that VA chose to withhold such documents because it
                      was aware that such documents contained evidence that Defendant VA
                      conspired to plan racially-motivated violence at the Unite the Right event;
                      and

             4.       Reasonable expenses, including attorney’s fees.

                                           FACTUAL BACKGROUND

  I.         Vanguard America Played a Significant Role in the Conspiracy

             VA was one of the early architects of the Defendants’ conspiracy to commit racially

  motivated violence in Charlottesville. Members of VA planned and attended a May 13, 2017 event

  (“Charlottesville 1.0”) in Charlottesville. (First Amended Complaint (“FAC”), ECF No. 175 at ¶¶

  50-53; Ex. 2 at 1 (Vanguard America, On Charlottesville --Why We Fight, BLOODANDSOIL.ORG

  (June 1, 2017).) As VA members would later do on August 11th, on May 13th, they marched to



  1
       Plaintiffs reserve the right to request that additional facts or documents be deemed established or authentic as
       additional facts or documents are revealed in discovery.

                                                             2
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  the statue of Robert E. Lee carrying lit torches while chanting racist, anti-Semitic chants. (See

  FAC, ECF No. 175 at ¶¶ 50-53; Ex. 2 at 2.) Buoyed by the perceived success of the May 13th

  event, Defendant and co-conspirator Jason Kessler sought a permit for the Unite the Right “rally”

  on the weekend of August 11th. (Id. at ¶¶ 53-55.)

         VA then coordinated closely with several other Defendants as part of a “joint operation”

  to plan, promote, and direct the events in Charlottesville on August 11th and 12th. (Id. at ¶¶ 319.)

  VA created an invite-only channel on a private server on Discord, a social media platform, so that

  its members could privately communicate with one another about their plans for the weekend

  events in Charlottesville. (Id. at ¶¶ 72-81.) Other Defendants, like Defendant Ray, and other

  “rally” organizers also communicated with VA’s members over the group’s private server – called

  “Southern Front” – about their plans for Charlottesville. (See e.g., id. at ¶¶ 93, 116; Ex. 3 (Excerpt

  from Southern Front Discord Server on May 17, 2017.) On its private channel, its private server,

  and elsewhere, VA’s leaders published advertisements for the Unite the Right “rally,” offered to

  bring members to Charlottesville on a “hate bus,” and gave members directives about how to dress

  and arm themselves. (FAC, ECF No. 175 at ¶¶ 114-115; Ex. 4 (Excerpt from @VanguardAm’s

  Twitter Profile on Aug. 11, 2017); (Ex. 5 (First Excerpt from Southern Front Discord Server on

  Jun. 26, 2017); Ex. 6 (Second Excerpt from Southern Front Discord Server on Jun. 26, 2017).)

  Indeed, Thomas Ryan Rousseau, a leader of VA, informed his constituents about his understanding

  of the concealed carry laws in Virginia and how best to bring knives to the “rally.” (See Ex. 7 at

  7 (Anti-Defamation League, VA, ADL.ORG, https://www.adl.org/resources/backgrounders/

  vanguard-america (last visited April 8, 2019); Ex. 8 at 2-3 (Southern Poverty Law Center, Thomas

  Rosseau, SPLCENTER.ORG, https://www.splcenter.org/fighting-hate/extremist-files/individual/




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  thomas-rousseau (last visited on April 8, 2019); FAC, ECF No. 175 at ¶¶ 114-115; Ex. 9 (Excerpt

  from Southern Front Discord Server on Aug. 7, 2017).) Following Rousseau’s lead, VA members

  posted messages on Southern Front during the events on August 12th encouraging one another to

  “incite a riot already,” and to “[b]eat [Antifa’s] shit in.” (Ex. 10 (First Excerpt from Southern

  Front Discord Server on Aug. 12, 2017); Ex. 11 (Second Excerpt from Southern Front Discord

  Server on Aug. 12, 2017).)

            In addition to planning and promoting the Events, VA played a significant role in

  Charlottesville on the ground during the weekend of August 11th. VA leaders and members

  communicated with one another on Discord throughout the weekend of August 11th, tracking the

  events in real-time on-line and encouraging its members to behave violently. (See e.g., FAC, ECF

  No. 175 at ¶¶ 167, 185, 218; Ex. 12 (E-mail from J. Kolenich to Plaintiffs’ Counsel regarding

  VA’s Resp. and Objs. to Pls. First Interrogs. and Reqs. for Prod. of Docs. (Apr. 18, 2018)); Ex. 13

  (Third Excerpt from Southern Front Discord Server on Aug. 12, 2017).) 2 On Friday, August 11th,

  hordes of white supremacists arrived at Nameless Field wearing the VA uniform—white polo shirt

  and khaki pants—as planned on Discord. (See FAC, ECF No. 175 at ¶ 153; Ex. 14 (Excerpt from

  Southern Front Discord Server on Jun. 21, 2017).) The following day, in addition to showing up

  in large numbers in matching VA uniforms, many members brought homemade shields and flags

  bearing VA’s logo. (Id. at ¶¶ 153, 197.) VA members led Defendants and other co-conspirators

  on a march in formation to Emancipation Park, where they chanted racist and anti-Semitic slogans.

  (Id. at ¶ 197.) After Governor McAuliffe declared a state of emergency on August 12th, VA



  2
      We have omitted the attachment to Exhibits 12, 33, and 26 from this public filing either because counsel for
      Defendants designated the attachment as Highly Confidential or because the material is designated as Highly
      Confidential by agreement of the parties pursuant to the Confidentiality Order. Plaintiffs omit these attachments
      without waiver of any objection to Defendants’ designations. Should the Court wish to review the omitted
      attachments, Plaintiffs are prepared to file them under seal or in another manner the Court prefers.

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  followed Defendants Ray, Cantwell and others to McIntire Park, where Defendants and co-

  conspirators threatened and assaulted counter-protestors. (Id. at ¶¶ 228-229.)

            Notably, Defendant James Fields spent much of August 12th with members of VA.                             (Id.

  at ¶ 197.) Fields was one of the first co-conspirators to arrive at Emancipation Park on August

  12th. (See Ex. 15 (Hawes Spencer, Summer of Hate, photograph insert following 118, (Univ. of

  VA Press 2018)).) On that morning, as if previously discussed, he arrived fully-clad in the VA

  uniform and assembled with other VA members. (FAC, ECF No. 175 at ¶¶ 197.) Fields admits

  to communicating with individuals “wearing white polo shirts with the VA symbol” on August

  12th. (Ex. 16 (E-mail from D. Campbell to Counsel regarding Fields’ Amended Resps. and Objs.

  to Pls.’ Interrogs. and Reqs. for Prod. of Docs. (April 16, 2018)).) 3 Fields appears to have spent

  most of the day with VA; throughout the morning and afternoon of the 12th, Fields was seen

  marching in the VA uniform, with VA members, while carrying a shield decorated with a VA

  logo. (See FAC, ECF No. 175 at ¶ 197; Ex. 17 at 1 (Jason Wilson, Charlottesville: Man Charged

  with Murder was Pictured at Neo-Nazi Rally, THE GUARDIAN (Aug. 13, 2017),

  https://www.theguardian.com/us-news/2017/aug/13/charlottesville-james-fields-charged-with-

  was-pictured-at-neo-nazi-rally-vanguard-america).) Months before attending the “rally,” Fields

  made his intentions known when he posted a meme on Instagram depicting a car crashing into a

  group of protestors. (See Ex. 18 (Jasmine Turner, Fields’ Instagram Posts Depicting Car Running

  Into Crowd to be Shown, NBC12.COM (Nov. 30, 2018), http://www.nbc12.com/2018/11/30/fields-

  instagram-posts-depicting-car-running-into-crowd-allowed-trial/.)                     And on the afternoon of



  3
      Although counsel for Fields did not designate his Amended Responses and Objections to Plaintiff’s First
      Interrogatories confidential, we have omitted the attachment to Ex. 16 from this public filing because the attachment
      contains confidential information, such as phone numbers. Should the Court wish to review the omitted attachment,
      Plaintiffs are prepared to file it under seal or in another manner the Court prefers.


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  August 12th, after spending the day with VA members, Fields acted exactly as planned—he

  crashed his car into a crowd of counter-protesters and bystanders, killing Heather Heyer and

  injuring Plaintiffs and many others. On August 13th, VA members ratified and celebrated Fields’

  violent rampage from the day before, describing Fields as a “USA Patriot” and suggesting

  Vanguard America should hand out “dodge challengers instead” of shields. (See FAC, ECF No.

  175 at ¶¶ 266, 270; Ex. 19 (First Excerpt from Southern Front Discord Server on Aug. 13, 2017);

  Ex. 20 (Second Excerpt from Southern Front Discord Server on Aug. 13, 2017).) VA also

  celebrated its own violent conduct, calling August 12th “the biggest victory for our movement

  history…[w]e gave many people shields, we fought and shed blood for our people today.” (Ex.

  21 (Third Excerpt from Southern Front Discord Server on Aug. 13, 2017). Indeed, its members

  appeared to measure the organization’s success by the extent of the harm they caused, bragging

  that VA members “fucked up many commies,” and “hospitalized dozens.” (Ex. 22 (Fourth Excerpt

  from Southern Front Discord Server on Aug. 13, 2017).

  II.    Vanguard America has Failed to Meaningfully Participate in Discovery and
         Flagrantly Disregarded this Court’s Orders

         Plaintiffs issued an electronic summons in this action to VA on October 19, 2017. (ECF

  No. 50.) Dillon Hopper a/k/a Dillon Irizarry was served with a summons as the representative for

  VA on November 17, 2017. (ECF No. 157.) On January 25, 2018 Plaintiffs served a request for

  documents on all defendants which sought, generally speaking, all documents related the events

  described in the complaint, broken down into eight separate categories. (See Pls. [Corrected] First

  Set of Reqs. for Prod. of Docs., ECF No. 432-1.) This straightforward request sought electronic

  documents, including, for example, e-mails, text messages, and content posted on social media,

  and also instructed VA to preserve all documents and communications relevant to this lawsuit.

  (Id. at 3; 5-6.) On the same date, Plaintiffs served VA with a set of interrogatories, asking VA to


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  identify, among other things, all means of communication used to communicate about the events

  listed in the complaint, as well as the electronic devices used for such communication. (See Pls.

  First Set of Interrogs., ECF No. 432-2.) VA did not respond.

         On March 3, 2018, Plaintiffs served counsel for VA with a letter regarding Defendants’

  failure to respond to Plaintiffs’ discovery requests and reminding Defendants of their obligation to

  preserve all documents responsive to Plaintiffs’ discovery requests. (See Ex. 23 (Letter from J.

  Fink to E. Woodard & J. Kolenich) (Mar. 9, 2018).) One and a half months later, VA responded

  to Plaintiffs’ requests. (See Ex. 12.) In its belated response, VA represented under oath that the

  “Charlottesville Planning Server” on Discord was the only way VA communicated about the

  events of this lawsuit. (Id. at 1.) With respect to the electronic devices used to communicate

  concerning the events, VA represented that it used “VA member desktop computers or mobile

  devices.” (Id. at 2.) In response to Plaintiffs’ request for responsive documents, VA represented

  it has “none in [its] possession” and that “no special steps were taken” to preserve responsive

  documents and communications, despite having been served with a summons for this action in

  October of 2017. (See id. at 2-3.)

         Plaintiffs followed up on VA’s response with a letter to its attorneys two weeks later

  describing the inadequacy of Defendants’ responses. (Letter from G. Tenzer to J. Kolenich and E.

  Woodard (Apr. 24, 2018), ECF No. 432-4.) Among other things, Plaintiffs requested that by May

  1, 2018, VA confirm for each of Plaintiffs’ requests for production that VA, in fact, had no

  responsive documents or communications in its possession. (See id. at 2.) Plaintiffs also asked

  VA (1) to provide the necessary Stored Communications Act (“SCA”) consents to Plaintiffs so

  that Plaintiffs could collect relevant documents from providers of VA’s electronic communication

  services, and (2) to execute Plaintiffs’ Proposed Order and Stipulation for the Production of



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   Electronically Stored Information (“ESI”) and Proposed Evidence Preservation Stipulation and

   Order (the “Proposed Orders”). (See id. at 2-3; Ex. 24 (E-mail from C. Greene to J. Kolenich

   (April 24, 2018).) Plaintiffs asked that Defendants provide the SCA consents and execute the

   orders by May 4, 2018. (ECF No. 432-4 at 2-3.) On May 10, 2018, having received nothing from

   Defendants, Plaintiffs sent another letter to Defendants again asking them to sign the SCA consents

   and the Proposed Orders. (Ex. 25 (Letter from G. Tenzer to J. Kolenich (May 10, 2018).) In that

   letter, Plaintiffs notified VA of various deficiencies in VA’s response to Plaintiffs’ discovery

   requests, including VA’s “failure to identify the ‘Southern Front’ Discord server” as a means by

   which VA communicated about the events at issue in this lawsuit. (Id. at Ex. A, 4.) Plaintiffs also

   asked that VA, in accordance with Plaintiffs’ fourth interrogatory, state the nature, type, location,

   and identity of the person who has custody of the devices used by VA to communicate about the

   events. (Id. at 4.)

           Despite numerous letters, e-mails and attempts to negotiate, nine months after Plaintiffs’

   first document request, Plaintiffs still had not received a single document nor had they received

   executed versions of the Proposed Orders from VA. Having received nothing from VA – as well

   as a host of other Defendants – Plaintiffs were forced to file a Motion to Compel Defendants to

   Permit Inspection and Imaging of Electronic Devices on October 2, 2018. (See Mot. to Compel

   Defs. to Permit Inspection and Imaging of Electronic Devices, ECF No. 354.) Generally speaking,

   Plaintiffs sought to compel Defendants, including VA, to submit their electronic devices and social

   media accounts that contained potentially relevant documents to a neutral, third-party vendor (the

   “third-party vendor”) for imaging and preservation of the evidence contained on their electronic

   devices. VA, through Mr. Kolenich, opposed that motion. (See Resp. in Opp. to Mot. to Compel

   Inspection and Imaging of Electronic Devices, Oct. 16, 2018, ECF No. 356.) After the parties



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   fully briefed the issue, the Court granted Plaintiffs’ motion on November 13, 2018. (See Order,

   Nov. 13, 2018, ECF No. 379.) During argument on the motion, the Court noted that “these

   discovery requests were issued in January; now it is November. And it is a significant delay.” (Tr.

   of Telephonic Mot. Hrg, Nov. 9, 2018, ECF No. 385 at 8.)

          On November 19, 2018, the Court issued the Stipulation and Order for the Imaging,

   Preservation, and Production of Documents (the “Imaging Order”). (See ECF No. 383.) In the

   Imaging Order, the Court ordered the parties to identify all electronic devices and social media

   accounts with information responsive to the opposing party’s discovery requests on a certification

   (the “Certification”). (Id. at 8.) The Court ordered the parties to provide the Certifications to

   opposing counsel by December 3, 2018. (Id. at 8.) The Court further ordered the Defendants to

   make their electronic devices and social media accounts available to the third-party vendor by

   December 17, 2018. (Id.) On December 7, 2018, VA provided a Certification to Plaintiffs that

   Plaintiffs now know is woefully incomplete. (See Ex. 26 (E-mail from J. Kolenich to Counsel

   regarding VA Certification (Dec. 7, 2018)).)

          On its Certification, VA, an organization of approximately 200 members, listed a single

   electronic device – a cell phone. (See Ex. 26 at 1; Ex. 7 at 4.) But, in its verified response to

   Plaintiffs’ interrogatories, VA admitted to communicating about the events at issue in this case on

   “VA member desktop computers or mobile devices.” (Ex. 12.)

          Likewise, the Certification listed only social media accounts for Dillon Hopper, but

   Plaintiffs have good reason to suspect VA has numerous other social media accounts with relevant

   content. (See Ex. 26 at 1.) Plaintiffs are aware of at least two separate Twitter accounts,

   @VanAmOfficial and @VanGuardAm, that published material about the Unite the Right “rally”

   before and after the “rally.” (See Ex. 4; Ex. 27 (First Excerpt from @VanAmOfficial’s Twitter



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   Profile on Dec. 1, 2017); Ex. 28 (Excerpt from @VanAmOfficial’s Twitter Profile on Dec. 14,

   2017); Ex. 29 (Second Excerpt from @VanAmOfficial’s Twitter Profile on Dec. 1, 2017)).

   Additionally, VA identified only two Discord accounts on its Certification, both of which seem to

   belong to Dillon Hopper. But, Hopper appears to have left off numerous other Discord accounts

   including those of Thomas Rosseau, for example, who were empowered to speak on behalf of VA

   on Discord. (See e.g., Ex. 30 (Excerpt from TradWorker Discord Server on Feb. 1, 2017); Ex. 31

   (Excerpt from Southern Front Discord Server on Jun. 20, 2017).)

          Plaintiffs also have good reason to believe that Hopper is not the sole custodian of

   documents for VA. For one thing, VA’s response to Plaintiffs’ interrogatories reflects that the

   group used various members’ electronic devices to communicate about the events at issue in this

   case. (Ex. 26; Ex. 12.) For another, Plaintiffs understand that Thomas Rosseau took over VA’s

   servers prior to the events in Charlottesville and led VA’s members in Charlottesville during the

   Unite the Right “rally.” (See Ex. 8 at 2-3.) Given these deficiencies in VA’s Certification,

   Plaintiffs have requested, but have not yet received, an updated, complete Certification from each

   Defendant, including VA. (See Tr. of Telephonic Hrg., Mar. 18, 2019, ECF 455 at 20-21).)

          As the Court knows, Defendants, including VA, caused substantial delays in discovery by

   taking months to negotiate and execute the imaging contract with the third-party vendor. (See

   Mot. for Sanctions against Def. Schoep, Feb. 27, 2019, ECF No. 432 at 6-7). As a result of these

   delays, the Court moved the fact discovery deadline back to April 17, 2019. (See Order, Jan. 4,

   2019, ECF No. 397.) During a February 12 telephonic hearing regarding the discovery vendor

   contract, Plaintiffs specifically requested that the Defendants’ electronic devices be turned over

   and access to social media accounts be provided at the time the contract is executed. (See Mot. for

   Sanctions against Def. Schoep, Feb. 27, 2019, ECF No. 432-7 at 12-13.) The Court asked Mr.



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   Kolenich whether there was any problem with that. (Id.) Mr. Kolenich replied, “No. As I

   understand it, there’s no -- most of my clients are squared away with just sending it in these

   Faraday bags that the vendors will send. One or two of them, like, if there’s a larger device, if

   there’s someplace they can meet near where the client is. . . . I don’t foresee it being a problem.

   All of my people, as best I can tell . . . I understand that they’re going to have to turn these devices

   over and they’re prepared to do it.” (Id. at 13.) With respect to social media accounts, Plaintiffs

   asked that defense counsel “start pulling those all together to provide to the vendor so that once

   they get the devices and the account, they can immediately start performing the work that they

   need.” (Id. at 14-15.)

          The Court held a telephonic hearing on February 21, 2019 regarding an update as to the

   status of the electronic device collection and production process. Not a single Defendant had yet

   provided the vendor with a single electronic device and the Defendants were just beginning the

   process of providing the vendor with their social media account credentials. (Tr. of Telephonic

   Hrg., Feb. 21, 2019, ECF No. 432-11 at 6.) On March 1, 2019, the Court held another telephonic

   hearing and again asked about progress on discovery. (Tr. of Telephonic Hrg., Mar. 1, 2019, ECF

   No. 441 at 18.) Again, Plaintiffs informed the Court that Defendants had turned over no electronic

   devices. (Id. at 18.) Two days later, the Court issued an order requiring all Defendants to “produce

   their electronic devices and social media account credentials to access” ESI “to the third-party

   vendor by the end of the day on Friday, March 8, 2019.” (Order, March 4, 2019, ECF No. 440 at

   3.) March 8th came and went and still VA had not provided any electronic devices to the third-

   party vendor.

          By the next telephonic hearing, several Defendants had sent electronic devices to the third-

   party vendor. Though VA provided partial account credentials to a few accounts, VA still had not



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   sent a single device. 4 (See Ex. 32 (E-mail from M. Bloch to the Court (Mar. 18, 2019); Tr. of

   Telephonic Hrg., Mar. 18, 2019, ECF No. 455 at 14).) Counsel for VA candidly admitted that:

                       Vanguard is a problem. Vanguard has not turned over the devices
                       they were supposed to turn over and is not listening to counsel on
                       the necessity of hurrying up and providing this stuff, so I really don't
                       have anything to say in regard to them other than it might be useful
                       for the Court to give them sort of a warning shot that, you know,
                       you're not kidding, sanctions possible in this circumstance, and give
                       them one last chance to comply. . . So I think if the Court could send,
                       you know, some sort of -- some sort of warning before actually
                       imposing sanctions or making us go through motion practice, with
                       Vanguard that might be useful to at least bring this to a conclusion
                       that either he is or is not going to cooperate.

   (Tr. of Telephonic Hrg., Mar. 18, 2019, ECF No. 455 at 14.) In response to the Court’s statement

   that the Court might issue an order to show cause, counsel for VA stated: “the show cause order is

   sort of exactly what I was envisioning. I can’t – I can’t deny that it had not been complied with.

   There’s been no indication that I can give the Court that there’s been any effort to comply on that

   one client.” (Id. at 15.) Lest there be any doubt as to VA’s willful disobedience of this Court’s

   orders, Counsel continued: “Vanguard richly deserves the order to show cause; I can’t say

   otherwise.” (Id. at 23.)

             Two days later, on March 20, 2019, the Court issued an Order to Show Cause. (See Order

   to Show Cause, March 20, 2019, ECF No. 452.) The Court ordered VA to file a written response

   showing why it should not be held in contempt for its failure to obey the Court’s November 19,

   2018 Imaging Order (ECF No. 383) and the Court’s March 4, 2019 Order (ECF No. 440) requiring

   Defendants to provide their electronic devices to the third-party vendor by March 8, 2019. (See

   Order to Show Cause, March 20, 2019, ECF No. 452.) The Court gave VA fourteen days to file a



   4
       In total, VA provided credentials to a single e-mail account for Dillon Hopper and an SCA consent for his Discord
       posts. Through third-party discovery, Plaintiffs received content from the Discord server “Southern Front,”
       although it is difficult for Plaintiffs to authenticate the documents without the participation of any members of VA.

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   written response. (See id. at 2.) On the fourteenth day, April 3, 2019, counsel for VA affirmed

   that he had provided a copy of the Order to Show Cause to VA, spoke to VA on the phone, and

   “explained what [the Order] means.” (Resp. to Order to Show Cause, Apr. 3, 2019, ECF No. 458

   at 1.) Unable to defend VA’s conduct, counsel for VA honorably admitted: “I have not received

   any information, as of April 3, 2019, indicating compliance with pending Court orders or showing

   cause why compliance should be excused.” (ECF No. 458-1 at 1.)

              Nearly fifteen months have passed since Plaintiffs’ initial discovery request to VA. In that

   time, VA provided a Certification that omits electronic devices and social media accounts that

   Plaintiffs have reason to believe contain documents and communications that are responsive to

   Plaintiffs’ discovery requests. And, as of April 9, 2019 when the parties received the most recent

   third-party vendor report, VA had yet to provide the third-party vendor with any electronic devices.

   (Ex. 33 (E-mail from Third-Party Vendor to Plaintiffs’ Counsel and Defendants’ Counsel

   regarding iDS Weekly Status Report (April 9, 2019).) 5

                                                      ARGUMENT

              A court has wide discretion to impose sanctions under Rule 37 and its inherent authority

   when a party fails to serve its answers, objections, or written response to discovery requests or to

   comply with discovery ordered by the court. See Fed. R. Civ. P. 37(b)(2) & (d)(3); Mut. Fed. Sav.

   & Loan v. Richards & Ass’n, 872 F.2d 88, 94 (4th Cir. 1989). It is generally recognized that

   sanctions are intended to: (1) penalize culpable parties; (2) deter others from engaging in similar

   conduct; (3) compensate the court and other parties for expense caused; and (4) compel discovery.

   See Gregory P. Joseph, Sanctions: The Federal Law of Litigation Abuse, § 49 (2013) (citing



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       We have made a redaction to Ex. 33, and omitted the attachment, consistent with the mandates of the Confidentiality
       Order. Should the Court wish to review the omitted and redacted material, Plaintiffs are prepared to file it under
       seal or in another manner the Court prefers.

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   Carlucci v. Piper Aircraft Corp., 775 F.2d 1440, 1453 (11th Cir. 1985)). Thus, the range of

   available sanctions “serve both normative—designed to punish culpable conduct and deter it in

   others—and compensatory—designed to put the party adversely affected by the spoliation in a

   position that is as close to what it would have been in had the spoliation not occurred—functions.”

   Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497, 534 (D. Md. 2010). “Rule 37 is

   flexible,” and courts are permitted to “use as many and as varied sanctions as are necessary to hold

   the scales of justice even.” Victor Stanley, Inc. v. Creative Pipe, Inc., No. 06-CV-2662, 2016 WL

   1597119, at *4 (D. Md. Apr. 20, 2016) (citation omitted).

          Rule 37 specifies a nonexclusive list of substantive, case-related sanctions for failure to

   obey a discovery order, ranging from an order establishing certain facts to the entry of a default

   judgment. See Fed. R. Civ. P. 37(b)(2)(A); Camper v. Home Quality Mgmt. Inc., 200 F.R.D. 516,

   517–18 (D. Md. 2000). Rule 37 also provides that the Court must order the payment of expenses

   by the disobedient party, including “the reasonable expenses, including attorney’s fees, caused by

   the failure, unless the failure was substantially justified or other circumstances make an award of

   expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C); Fed. R. Civ. P. 37(d)(3). A court may also award

   sanctions for discovery violations pursuant to its inherent authority. See, e.g., Projects Mgmt. Co.

   v. Dyncorp Int’l LLC, 734 F.3d 366, 375 (4th Cir. 2013) (“[A] court acting under its inherent

   authority may impose sanctions for any conduct utterly inconsistent with the orderly

   administration of justice.” (Citation and internal quotation marks omitted)); Sampson v. City of

   Cambridge, 251 F.R.D. 172, 178–79 (D. Md. 2008).




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             The Fourth Circuit has developed a four-part test for determining what sanctions to impose

   under Rule 37: “(1) whether the noncomplying party acted in bad faith; 6 (2) the amount of

   prejudice that noncompliance caused the adversary; (3) the need for deterrence of the particular

   sort of noncompliance; and (4) whether less drastic sanctions would be effective.” Anderson v.

   Found. for Advancement, Educ. & Emp’t of Am. Indians, 155 F.3d 500, 504 (4th Cir. 1998). The

   presence or absence of any one of these factors is not dispositive. See, e.g., Victor Stanley, 269

   F.R.D. at 533.

             Additionally, the Court has the power to sanction parties under its inherent authority. The

   factors courts consider largely mirror those courts apply under Rule 37:

             (1) the degree of the wrongdoer’s culpability; (2) the extent of the client’s
             blameworthiness if the wrongful conduct is committed by its attorney, recognizing
             that [the court] seldom dismiss[es] claims against blameless clients; (3) the
             prejudice to the judicial process and the administration of justice; (4) the prejudice
             to the victim; (5) the availability of other sanctions to rectify the wrong by
             punishing culpable persons, compensating harmed persons, and deterring similar
             conduct in the future; and (6) the public interest.

   Projects Mgmt., 734 F.3d at 374 (quoting United States v. Shaffer Equip. Co., 11 F.3d 450, 462–

   63 (4th Cir. 1993)).

             Each of the four prongs of the Rule 37 test—as well as the factors courts consider under

   their inherent authority—are easily satisfied here. VA’s bad faith here has manifested in two

   ways—(1) its refusal to provide the third-party vendor with electronic devices, and (2) its failure

   to fully disclose relevant social media accounts and credentials. VA’s willful defiance of its




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       While bad faith is relevant to the analysis and evident in the case of VA, the Fourth Circuit does not require that a
       court find bad faith in order to impose the type of sanctions being sought here. See Silvestri v. Gen. Motors Corp.,
       271 F.3d 583, 593 (4th Cir. 2001) (holding that dismissal for spoliation is “usually justified only in circumstances
       of bad faith or other like action. But even when conduct is less culpable, dismissal may be necessary if the prejudice
       to the defendant is extraordinary, denying it the ability to adequately defend its case.”); Sampson, 251 F.R.D. at 179
       (“Although, some courts require a showing of bad faith before imposing sanctions, the Fourth Circuit requires only
       a showing of fault, with the degree of fault impacting the severity of sanctions.”).

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   discovery obligations has significantly hindered Plaintiffs’ ability to establish vital facts and

   authenticate critical documents they otherwise would have been able to, had VA simply

   participated in discovery and complied with this Court’s orders. Moreover, VA’s bad faith

   disobedience seems to have encouraged similar behavior from other Defendants—like Defendants

   Jeff Schoep, Elliot Kline, Matthew Heimbach, and potentially others—who have also flouted this

   Court’s discovery orders. Sanctions are appropriate. Specifically, Plaintiffs seek the following

   sanctions:

                       1. That the Court deem the facts listed in the attached Exhibit 1 established
                          for purposes of this action;

                       2. That the Court deem “authentic” for purposes of satisfying Rule 901 of
                          the Federal Rules of Evidence any document Plaintiffs have a good faith
                          basis to believe was in fact created by Defendant VA, including, but not
                          limited to, all documents from the social media accounts listed in
                          Exhibit 1; 7

                       3. That the Court instruct the jury that Defendant VA chose to intentionally
                          withhold its documents and that the jury may draw adverse inferences
                          from that fact, including that VA chose to withhold such documents
                          because it was aware that such documents contained evidence that
                          Defendant VA conspired to plan racially-motivated violence at the
                          Unite the Right event;

                       4. Reasonable expenses, including attorney’s fees.

              The requested sanctions are necessary to put Plaintiffs in the position they would have been

   in had VA complied with its discovery obligations in this case and are designed to deter other

   Defendants from continuing to defy this Court’s orders.

   I.         VA Has Acted in Bad Faith

              There is little doubt that VA has acted in bad faith, as statements from its own lawyer make

   clear. Courts have considered a number of non-exclusive factors in determining whether to


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        Plaintiffs reserve the right to request that additional facts or documents be deemed established or authentic as
        additional facts or documents are revealed in discovery.

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   presume bad faith, including, as discussed infra, whether a decision not to participate appears to

   be a conscious one, whether there is a legitimate explanation for the failure to participate, and the

   length of time a party has failed to participate, among others.

           Representations from VA’s attorney, who referred to VA as “a problem” and candidly

   admitted that there’s been “no indication . . . that there’s been any effort to comply” by VA, firmly

   establish that VA’s decision to cease participation in discovery was willful. Dusé v. Barnes &

   Noble, Inc., No. 1:11-CV-875, 2011 WL 13192908, at *2 (E.D. Va. Dec. 22, 2011) (finding that

   where a party “made a conscious decision not to participate” in the case, “[s]uch a refusal amounts

   to bad faith”), report and recommendation adopted, No. 1:11-CV-875, 2012 WL 12973545 (E.D.

   Va. Jan. 6, 2012), aff’d, 473 F. App’x 189 (4th Cir. 2012). Additionally, VA has made “no effort

   to explain or justify [its] failure to engage in meaningful discovery, and given [its] persistent failure

   to cooperate, [its] silence leaves the court with no choice but to presume bad faith.” Sawyers v.

   Big Lots Stores, Inc., No. 7:08-CV-258, 2009 WL 55004, at *3 (W.D. Va. Jan. 8, 2009); Robinson

   v. Yellow Freight Sys., 132 F.R.D. 424, 428 (W.D.N.C. 1990) (“Plaintiff has utterly failed to come

   forward with any legitimate reason that explains his refusal to attend the two (2) scheduled

   depositions in Kingstree. Thus, the Court concludes that Plaintiff chose to disregard this Court’s

   discovery orders in bad faith.”).

           In the nearly fifteen months since Plaintiffs served VA with a document request, VA has

   produced only a fraction of the universe of documents it possesses and has taken affirmative steps

   to evade court orders and make it more difficult for Plaintiffs to obtain relevant documents, such

   as omitting social media accounts and electronic devices from its Certification. This substantial

   delay and substantial non-performance bolsters the otherwise overwhelming evidence of bad faith.

   See, e.g., Green v. John Chatillon & Sons, 188 F.R.D. 422, 424 (M.D.N.C. 1998) (noting



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   “[n]oncompliance with discovery orders can serve as a basis for a finding of bad faith,” and

   dismissing plaintiff’s claims with prejudice where plaintiff’s “complete failure to provide

   discovery over eight months after the original requests and over two months after being ordered

   by Magistrate Judge Eliason to do so satisfies the four-part test required by Mutual Federal.”

   (emphasis added)); Daye v. Gen. Motors Corp., 172 F.R.D. 173, 177 (M.D.N.C 1997) (“The

   failure of Plaintiffs and Colbert to honor the Orders of this Court and Colbert’s failure to initiate

   any contact with Defendant’s counsel for over six months constitutes both unjustifiable negligence

   as well as bad faith.”).

   II.     Plaintiffs Have Been Severely Prejudiced by VA’s Failure to Respond to Discovery

           The prejudice caused by VA’s failure to produce any electronic devices and the

   overwhelming majority of social media accounts used by its members to plan this conspiracy is

   substantial, particularly in a case where Plaintiffs need to prove a conspiracy. Courts have

   consistently found prejudice where parties are hampered in their ability to prove material

   components of their case due to the opposing party’s failure to produce documents. “The purpose

   of pre-trial discovery is for a litigating attorney to obtain information from the opposing party,

   information which in many cases is not otherwise available” and “an absolute lack of discovery

   results in clear prejudice.” Pruitt v. Bank of Am., N.A., No. 8:15-CV-1310, 2016 WL 7033972, at

   *3 (D. Md. Dec. 2, 2016) (citation omitted); see also id. at *2 (“Interrogatories[, document

   requests,] and depositions are important elements of discovery; [a party] would be hard-pressed to

   conduct its case without them. When a [party] refuses to respond to such requests, it can have a

   debilitating effect on the rest of the litigation.”). Due to Defendants’ repeated and ongoing

   discovery misconduct, “this case has taken up an inordinate amount of judicial resources, and

   resulted in significant procedural and substantive prejudice to Plaintiff[s]” who have “been

   stymied at every turn . . . to get the evidence [they] need[] to prosecute [their] claims.” First
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   Mariner Bank v. Resolution Law Grp., P.C., No. 12-CV-1133, 2014 WL 1652550, at *19 (D. Md.

   Apr. 22, 2014); see also Diamond v. Mohawk Indus., Inc., No. 6:12-CV-00057, 2014 WL 1404563,

   at *5 (W.D. Va. Apr. 10, 2014) (finding defendant was “greatly prejudiced by the inability to . . .

   communicate with [plaintiff] in any regular fashion about the case, or receive responsive

   documents from him”). “Significant prejudice” is also present where, as here, “the evidence

   sought by [Plaintiffs’] discovery requests ‘goes to the heart’ of [their] claim.” Hendricks, 2017

   WL 2711131, at *4; see also Knight v. Boehringer Ingelheim Pharm., Inc., 323 F. Supp. 3d 837,

   845 (S.D.W. Va. 2018) (“[P]rejudice arises when a party cannot present evidence essential to its

   underlying claim.” (citation and internal quotation marks omitted)).

          Discovery is especially critical in a conspiracy case. There is already an “inherent

   difficulty in proving conspiracy,” Precision Piping & Instruments, Inc. v. E.I. duPont De Nemours

   & Co., 707 F. Supp. 225, 228 (S.D.W. Va. 1989), and the Fourth Circuit has held that

   “[a]cknowledging the difficulty of proving the existence of a conspiracy by direct evidence, . . . ‘a

   conspiracy may be proved wholly by circumstantial evidence . . . of a defendant’s relationship

   with other members of the conspiracy, the length of this association, the defendant’s attitude and

   conduct, and the nature of the conspiracy,’” United States v. Masi, 135 F.3d 771, at *6 (4th Cir.

   1998) (table decision) (quoting United States v. Burgos, 94 F.3d 849, 858 (4th Cir. 1996)). The

   absence of documents that Plaintiffs can authenticate as having been generated by VA impedes

   Plaintiffs’ ability to prove the manner in which VA’s members communicated and conspired with

   other Defendants, particularly with Defendant Fields, thus jeopardizing Plaintiffs’ ability to prove

   their case against other Defendants as well.

          Defendants’ failure to participate in discovery has resulted in textbook prejudice here.

   During the period of this case where VA was participating, VA, through Dillon Hopper, admitted



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   in sworn interrogatory responses to using “VA member desktop computers or mobile devices” to

   communicate about the events in Charlottesville. Yet VA has refused to produce a single one of

   those computers and devices.        In a conspiracy case, VA is withholding evidence of

   communications amongst co-conspirators, arguably the most critical category of evidence that

   exists in this type of case. The prejudice of a nearly wholesale failure to produce such evidence

   cannot be overstated. Plaintiffs are aware of the existence of damning evidence VA has in its

   possession – evidence that likely corroborates the substantial circumstantial evidence of planning

   the critical moments of the events in this case, such as the Fields car attack – and yet VA has

   intentionally denied Plaintiffs access to a huge volume of that evidence. Even those documents

   Plaintiffs have obtained through other means become difficult to authenticate without VA’s

   participation in the discovery process. For example, VA created a server on Discord, Southern

   Front, to organize its members for the Unite the Right event. Plaintiffs have worked diligently to

   mitigate the prejudice from VA’s nearly complete failure to produce by attempting to obtain VA’s

   documents from third parties, like Discord. While that process has yielded a substantial number

   of Discord posts that purport to be authored by members of VA on the Southern Front server and

   other servers, Plaintiffs are unable to authenticate these documents or gain any understanding of

   the volume of documents VA continues to withhold without being able to get discovery from its

   electronic devices and its additional social media accounts. Yet, without Court intervention, that

   is exactly where Plaintiffs find themselves.

   III.   Deterrence Is Required Where, as Here, Multiple Defendants Have Resisted
          Compliance with Discovery

          As more and more Defendants continue to defy discovery orders, sanctions become

   increasingly necessary for deterrence purposes. As the Fourth Circuit has held, “not only does the

   noncomplying party jeopardize his or her adversary’s case by such indifference, but to ignore such


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   bold challenges to the district court’s power would encourage other litigants to flirt with similar

   misconduct.” Mut. Fed. Sav. & Loan, 872 F.2d at 92; see also Nat’l Hockey League v. Metro.

   Hockey Club, Inc., 427 U.S. 639, 643 (1976) (holding that sanctions “must be available to the

   district court in appropriate cases, not merely to penalize those whose conduct may be deemed to

   warrant such a sanction, but to deter those who might be tempted to such conduct in the absence

   of such a deterrent”).

           The discovery disobedience by other Defendants is well-catalogued at this point. There

   are multiple sanctions motions pending and potentially more on the way. As this motion is filed,

   multiple Defendants still have not complied with the Court’s latest deadline—March 8—to

   produce their electronic devices and social media credentials to the third-party vendor, and

   Plaintiffs continue to encounter certain resistance. Unpunished, VA’s overt defiance will only

   further encourage and empower other Defendants to do the same in a discovery process that has a

   long way to go. The extent of continued non-compliance or late compliance among Defendants

   underscores the need for stiff sanctions against parties, like VA, whose lawyers chose to move to

   withdraw from the case, rather than even attempt to justify their behavior. Silvestri, 271 F.3d at

   590 (“The courts must protect the integrity of the judicial process because, as soon as the process

   falters . . . the people are then justified in abandoning support for the system.” (Alteration, citation,

   and internal quotation marks omitted)). The need to deter this type of conduct “is manifest. Civil

   cases simply cannot proceed without participation by all parties in discovery.” Pruitt, 2016 WL

   7033972, at *2. “Continued contumacious behavior and abuse through non-compliance with [a

   Court’s] orders cannot be tolerated. And with discovery’s important role in modern litigation,

   deterrence is greatly needed.” Flame S.A. v. Industrial Carriers, Inc., 39 F. Supp. 3d 752, 765

   (E.D. Va. 2014).



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   IV.       Lesser Sanctions Would Not Be Effective

             Pursuant to Rule 37 and the Court’s inherent authority, severe sanctions are warranted for

   VA’s misconduct. 8 Butler v. DirectSat USA, LLC, No. 10-CV-2747, 2013 WL 6629240, at *1 (D.

   Md. Dec. 16, 2013) (“A party’s total failure to comply with the mandates of discovery, with no

   explanation for that failure, can certainly justify this harshest of sanctions.”); Nucor Corp. v. Bell,

   251 F.R.D. 191, 194 (D.S.C. 2008) (finding “harsher sanctions” permitted where “the spoliation

   was so prejudicial that it prevents the non-spoliating party from maintaining [their] case”). Rule

   37(b)(2)(ii) expressly provides for sanctions that both remedy the substantial prejudice Plaintiffs

   have suffered and constitute the most appropriate disincentive to other Defendants contemplating

   similar transgressions.

             Regarding the first and second requested sanctions, Plaintiffs are asking that the Court

   deem certain facts established that Plaintiffs have a good faith basis to believe they would in fact

   establish if VA had produced its documents and devices as required in this case.                                  Rule

   37(b)(2)(A)(i) expressly contemplates this particular sanction for exactly this purpose, allowing a

   court to “direct[] that . . . designated facts be taken as established for purposes of the action, as the

   prevailing party claims.” See, e.g., Wachtel v. Health Net, Inc., 239 F.R.D. 81, 104 (D.N.J. 2006)

   (holding that certain facts would “be deemed admitted for all purposes” in light of “the significance

   of the documents withheld from Plaintiffs, the deliberate and willful nature of the non-disclosure,

   and the prejudice suffered by Plaintiffs”). If VA turned over its documents and participated in the

   rest of discovery, Plaintiffs would be able to confront its members with its documents and establish




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       Plaintiffs believe that VA’s failure to comply with discovery and with the Court’s orders could warrant the granting
       of a default judgment, arguably a more severe sanction than what is sought here. Such a sanction would frankly
       leave Plaintiffs worse off, however, given the amount of damning evidence VA may possess that may never see the
       light of day. In a conspiracy case, such a result would hinder Plaintiffs’ ability to prove their case against other
       Defendants and perversely would therefore constitute somewhat of a windfall for VA.

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   the authenticity of documents they authored in furtherance of this conspiracy. Any lesser sanction

   would fail to alleviate the substantial prejudice Plaintiffs have suffered from the inability to obtain

   and authenticate many of the Defendants’ documents and place them before a jury. Moreover, any

   sanction that does not impose a case-related consequence would allow Defendants to avoid

   accountability entirely simply by opting out of the process. Defendants should not be rewarded

   for their disobedience.

          As to the third requested sanction—adverse inferences—a failure to preserve and produce

   documents is, in effect, no different from intentional spoliation. “Under the spoliation of evidence

   rule, an adverse inference may be drawn against a party who destroys relevant evidence.” Vodusek

   v. Bayliner Marine Corp., 71 F.3d 148, 155 (4th Cir. 1995); see also Beaven v. U.S. Dep’t of

   Justice, 622 F.3d 540, 554–55 (6th Cir. 2010) (affirming district court “imposing a non-rebuttable

   adverse inference after finding that the Defendants’ destruction of [evidence] severely

   compromised the Plaintiffs’ case by depriving the Plaintiffs of the most relevant piece of evidence

   to prove their claims” (internal quotation marks omitted)). “Such an instruction can be critical to

   assisting the innocent party in establishing the nature of the evidence that has gone missing” and

   “ameliorate any prejudice to the innocent party by filling the evidentiary gap created by the party

   that destroyed evidence.” Ottoson v. SMBC Leasing & Fin., Inc., 268 F. Supp. 3d 570, 584

   (S.D.N.Y. 2017) (citation and internal quotation marks omitted).

          These remedies are the only way to properly “level[] the evidentiary playing field and . . .

   sanction[] the improper conduct.” Vodusek, 71 F.3d at 156. Moreover, given that this Court’s

   “direct, unequivocal order[s] ha[ve] been met with . . . silence”, “there is nothing to indicate that

   a less drastic sanction would lead to different results.” Pruitt, 2016 WL 7033972, at *3.




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          Because Defendant VA has willfully disobeyed multiple Court orders, withheld social

   media accounts and electronic devices, and failed to meaningfully participate in discovery in this

   case, the above-requested sanctions are the minimum necessary and appropriate to remedy the

   prejudice Plaintiffs have suffered from Defendant’s defiance, and to deter other Defendants from

   following suit.

                                            CONCLUSION

          For the foregoing reasons, Plaintiffs request that this Court grant their motion for sanctions

   against Defendant VA in its entirety, order the requested relief, and order such other relief as the

   Court deems just and proper.




   Dated: April 11, 2019                                Respectfully submitted,

                                                      /s/
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                                     RULE 37 CERTIFICATION


           Plaintiffs hereby certify pursuant to Rule 37(a)(1) that they have attempted to meet and
   confer with VA, as detailed on pages three through thirteen. Plaintiffs certify that they are unable
   to obtain the requested discovery without court action.


   Dated: April 11, 2019                                        Respectfully submitted,


                                                                /s/ ___________________
                                                                Robert T. Cahill (VSB 38562)
                                                                Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 11, 2019, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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Case 3:17-cv-00072-NKM-JCH Document 465 Filed 04/11/19 Page 30 of 30 Pageid#: 4420




           I further hereby certify that on April 11, 2019, I also served the following non-ECF
   participants, via U.S. mail, First Class and postage prepaid, addressed as follows:


    Loyal White Knights of the Ku Klux Klan            Moonbase Holdings, LLC
    a/k/a : Loyal White Knights Church of              c/o Andrew Anglin
    the Invisible Empire, Inc.                         P.O. Box 208
    c/o Chris and Amanda Barker                        Worthington, OH 43085
    2634 U.S. HWY 158 E
    Yanceyville, NC 27379


    Andrew Anglin                                      East Coast Knights of the Ku Klux Klan
    P.O. Box 208                                       a/k/a East Coast Knights of the
    Worthington, OH 43085                              True Invisible Empire
                                                       26 South Pine St.
                                                       Red Lion, PA 17356

    Fraternal Order of the Alt-Knights                 Augustus Sol Invictus
    c/o Kyle Chapman                                   9823 4th Avenue
    52 Lycett Circle                                   Orlando, FL 32824
    Daly City, CA 94015




           I further hereby certify that on April 11, 2019, I also served the following non-ECF
    participants, via electronic mail, as follows:


    Elliot Kline                                       Matthew Heimbach
    eli.f.mosley@gmail.com                             matthew.w.heimbach@gmail.com




                                                         /s/
                                                         Robert T. Cahill (VSB 38562)
                                                         COOLEY LLP

                                                         Counsel for Plaintiffs




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